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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:
    CENTER CITY HEALTHCARE, LLC D/B/A                              Chapter 11
    HAHNEMANN UNIVERSITY HOSPITAL, et
    al.,1                                                          Case No. 19-11466 (MFW)

                              Debtors.                             (Jointly Administered)


    Broad Street Healthcare Properties, LLC, Broad
    Street Healthcare Properties II, LLC, Broad Street
    Healthcare Properties III, LLC, and Philadelphia   U.S. District Court
    Academic Health Holdings, LLC,
                                                       Case No. 21-cv-01779-RGA
                                   Appellants,
                                                       Bankruptcy BAP No. 21-87
                          v.

    Center City Healthcare, LLC d/b/a Hahnemann
                                                                   Re: D.I. 25 & 26
    University Hospital,

                                        Appellee.

                              STIPULATION REGARDING
                      FURTHER EXTENSION OF BRIEFING DEADLINES

          Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties II, LLC,

Broad Street Healthcare Properties III, LLC (collectively, the “Broad Street Entities”), and

Philadelphia Academic Health Holdings, LLC (“PAHH” and, together with the Broad Street

Entities, the “Appellants”), the above-referenced debtors and debtors-in-possession (collectively,




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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
      Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
      SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
      Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
      L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS
      V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania
      19102.


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the “Debtors”), the Official Committee of Unsecured Creditors (the “Committee”), HSRE,2 the

MBNF Non-Debtor Entities,3 and Tenet4 (collectively, the “Parties”), enter into this (the

“Stipulation”) and hereby agree as follows:


                                                    RECITALS

         WHEREAS the recitals and agreement set forth in the Stipulation Regarding the Extension

of Briefing Deadlines and Withdrawal of Certain Sealed Documents [D.I. 26] (the “First

Stipulation”) are incorporated herein by reference;

         WHEREAS on February 14, 2022, this Court approved the First Stipulation (the

“Approval Order”);

         WHEREAS pursuant to paragraph 1 of the First Stipulation, any briefing or filing

obligation of any party in the above-captioned appeal (the “Appeal”) is stayed through March 31,

2022;

         WHEREAS since approval of the First Stipulation, the Debtors, the Committee, HSRE,

and the MBNF Non-Debtor Entities have continued to engage in mediation before the Honorable

Kevin J. Carey (ret.), as mediator, with respect to certain disputes among such parties, including

disputes related to this Appeal (the “Chapter 11 Mediation”);

         WHEREAS since approval of the First Stipulation, the Appellants, the MBNF Non-Debtor

Entities and Tenet have continued to engage in mediation before the Honorable Joseph J. Farnan


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    “HSRE” means, collectively, PAHH Bellet MOB, LLC; PAHH Broad Street MOB, LLC; PAHH Erie Street
    Garage, LLC; PAHH Feinstein MOB, LLC; PAHH New College MOB, LLC; PAHH Wood Street Garage, LLC;
    HSREP VI Holding, LLC; HSRE-PAHH IA, LLC; and HSRE-PAHH I, LLC.
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    “MBNF Non-Debtor Entities” means, collectively, Appellants, Joel Freedman, Stella Freedman, Svetlana
    Attestatova, Kyle Schmidt, MBNF Investments, LLC, American Academic Health System, LLC, Front Street
    Healthcare Properties, LLC, Front Street Healthcare Properties II, LLC, Philadelphia Academic Risk Retention
    Group, LLC, Paladin Healthcare Capital, LLC, Paladin Healthcare Management, LLC, and Globe Health
    Foundation, Inc.
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    “Tenet” means, collectively, Tenet Business Services Corporation and Conifer Revenue Cycle Solutions, LLC.

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(ret.), as mediator, with respect to certain disputes among such parties, including disputes related

to this Appeal (the “Tenet Mediation” and, together with the Chapter 11 Mediation, the

“Mediations”);

         WHEREAS as a result of the Mediations, the Parties believe they have made meaningful

progress toward a global resolution and settlement among them, including resolution and

settlement of this Appeal, and wish to continue such Mediations;

         WHEREAS to maximize judicial efficiency and conserve resources of the Court and the

Parties, the Parties jointly propose to stay the above-captioned Appeal, including briefing on the

merits of the Appeal and all other filings in the Appeal, through and including April 30, 2022.

                                          AGREEMENT

         NOW, THEREFORE, in consideration of the foregoing, the Parties hereby agree and

stipulate as follows:

         1.        Paragraph 1 of the First Stipulation is hereby amended as follows: “Until

termination of the Mediation, any briefing or filing obligations of any party in this Appeal

stemming from the filing of the Notice of Appeal shall be stayed through and including April 30,

2022.”

         2.        Except as expressly modified herein, the terms and conditions of the First

Stipulation and the Approval Order shall otherwise remain in full force and effect.

                             [Remainder of page intentionally left blank]




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Dated: March 31, 2022
       Wilmington, DE

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 Counsel for Tenet Business Services
 Corporation and Conifer Revenue Cycle
 Solutions, LLC



                         March
 SO ORDERED 31st day of __________, 2022.



                                             /s/ Richard G. Andrews
                                            The Honorable Richard G. Andrews
                                            United States District Court Judge




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